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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

__________________________________________
                                          )
STATE OF TEXAS, STATE OF LOUISIANA        )
                                          )
                              Plaintiffs, )
            v.                            )
                                          )                                  No. 6:21-cv-00016
UNITED STATES OF AMERICA, et al.          )
                                          )
                              Defendants. )
__________________________________________)

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